Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 1 of 43

                 2019-06499 / Court: 151
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 2 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 3 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 4 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 5 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 6 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 7 of 43
    Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 8 of 43                                             1/30/2019 12:05 PM
                                                                                             Marilyn Burgess - District Clerk Harris County
                                                                                                                  Envelope No. 30793584
                                                                                                                           By: Marcella Hill
                                                                                               Clay Miller Filed: 1/30/2019 12:05 PM
                                                                                Board Certified - Personal Injury Trial Law
                                                                                  Texas Board of Legal Specialization
                                                                                     cmiller@MillerWeisbrod.com




                                                Janaury 30, 2019

VIA E-File
Civil Intake
Harris County District Court
201 CAROLINE
HOUSTON, TX 77002

       Re:      Abner Pastor vs. Guardian Transition Inc.
                Cause No. 201906499

Dear Sir/Madam:

       Please prepare four additional citations for the following:

       (1)      KARAM INDUSTRIES
                President: Hermant Sapra
                D-95, Vyapar Marg, Sector 2,
                Noida, Uttar Pradesh 201301
                India
                OR WHEREVER HE MAY BE FOUND


       (2)      KARAM INDUSTRIES
                President: Rajesh Nigam
                D-95, Vyapar Marg, Sector 2,
                Noida, Uttar Pradesh 201301
                India
                OR WHEREVER HE MAY BE FOUND

       (3)      P. N. INTERNATIONAL
                President: Hermant Sapra
                D-95, Vyapar Marg, Sector 2,
                Noida, Uttar Pradesh 201301
                India
                OR WHEREVER HE MAY BE FOUND




       11551 Forest Central Drive Forest Central II Suite 300 Dallas, Texas 75243 (214) 987-0005 (888) 987-0005
                                 P.O. Box 821329 Dallas, Texas 75382 Fax (214) 987-2545
                         Federal Tax ID: XX-XXXXXXX                      www.MillerWeisbrod.com
    Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 9 of 43
        (4)      P. N. INTERNATIONAL
                 President: Rajesh Nigam
                 D-95, Vyapar Marg, Sector 2,
                 Noida, Uttar Pradesh 201301
                 India
                 OR WHEREVER HE MAY BE FOUND

        Payment for copies and fee will be submitted.

        We appreciate your assistance in this matter. If you have any questions, please give me a
call.

                                                                Sincerely,

                                                                /s/ Maggie Sanchez

                                                                Maggie Sanchez
                                                                Legal Secretary to Clay Miller
#1132021




        11551 Forest Central Drive Forest Central II Suite 300 Dallas, Texas 75243 (214) 987-0005 (888) 987-0005
                                  P.O. Box 821329 Dallas, Texas 75382 Fax (214) 987-2545
                          Federal Tax ID: XX-XXXXXXX                      www.MillerWeisbrod.com
    Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 10 of 43                                              2/11/2019 3:20 PM
                                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                                   Envelope No. 31099200
                                                                                                                            By: Marcella Hill
                                                                                                Clay Miller Filed: 2/11/2019 3:20 PM
                                                                                 Board Certified - Personal Injury Trial Law
                                                                                   Texas Board of Legal Specialization
                                                                                      cmiller@MillerWeisbrod.com




                                                February 11, 2019

VIA E-File
Civil Intake
Harris County District Court
201 CAROLINE
HOUSTON, TX 77002

        Re:      Abner Pastor vs. Guardian Transition Inc.
                 Cause No. 201906499

Dear Sir/Madam:

        Please prepare two citations for the following:

        (1)      GUARDIAN TRANSITION INC. D/B/D GUARDIAN FALL
                 PROTECTION, D/B/A GF PROTECTION INC.
                 Registered Agent: National Registered Agents, Inc.,
                 155 Federal St. Ste 700,
                 Boston, MA 02110-1727

        (2)      K-STRONG
                 P. N. INTERNATIONAL
                 Registered Agent: Andy Lui
                 17330 Preston Road #200 D
                 Dallas, Texas 75252
                 OR WHEREVER HE MAY BE FOUND

      Payment for the fee will be submitted.                                  Please     email      them       both      to
msanchez@millerweisbrod.com when they are ready.

        We appreciate your assistance in this matter. If you have any questions, please give me a
call.

                                                                Sincerely,

                                                                /s/ Maggie Sanchez

                                                                Maggie Sanchez
                                                                Legal Secretary to Clay Miller
#1134217

        11551 Forest Central Drive Forest Central II Suite 300 Dallas, Texas 75243 (214) 987-0005 (888) 987-0005
                                  P.O. Box 821329 Dallas, Texas 75382 Fax (214) 987-2545
                          Federal Tax ID: XX-XXXXXXX                      www.MillerWeisbrod.com
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 11 of 43
    Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 12 of 43                                             2/20/2019 12:03 PM
                                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                                   Envelope No. 31334889
                                                                                                                            By: Marcella Hill
                                                                                                Clay Miller Filed: 2/20/2019 12:03 PM
                                                                                 Board Certified - Personal Injury Trial Law
                                                                                   Texas Board of Legal Specialization
                                                                                      cmiller@MillerWeisbrod.com




                                                February 20, 2019

VIA E-File
Civil Intake
Harris County District Court
201 CAROLINE
HOUSTON, TX 77002

        Re:      Abner Pastor vs. Guardian Transition Inc.
                 Cause No. 201906499

                                    AMENDED REQUEST

Dear Sir/Madam:

        Please prepare one citation for the following:

        (1)      KARAM INDUSTRIES
                 D-95, Vyapar Marg, Sector 2,
                 Noida, Uttar Pradesh 201301
                 India
                 OR WHEREVER IT MAY BE FOUND

        (2)      P. N. INTERNATIONAL
                 D-95, Vyapar Marg, Sector 2,
                 Noida, Uttar Pradesh 201301
                 India
                 OR WHEREVER IT MAY BE FOUND

      Payment for copies and fee will be submitted. Also, please DO NOT put “Hague
Convention” on the citations.

        We appreciate your assistance in this matter. If you have any questions, please give me a
call.

                                                                Sincerely,

                                                                /s/ Maggie Sanchez

                                                                Maggie Sanchez
                                                                Legal Secretary to Clay Miller
        11551 Forest Central Drive Forest Central II Suite 300 Dallas, Texas 75243 (214) 987-0005 (888) 987-0005
                                  P.O. Box 821329 Dallas, Texas 75382 Fax (214) 987-2545
                          Federal Tax ID: XX-XXXXXXX                      www.MillerWeisbrod.com
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 13 of 43 2/27/2019 12:39 PM
                                                             Marilyn Burgess - District Clerk Harris County
                                                                                  Envelope No. 31532431
                                                                             By: VERONICA GONZALEZ
                                                                               Filed: 2/27/2019 12:39 PM
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 14 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 15 of 43
                                                               2/27/201912:39:11PM
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD MarilynBurgess-DistrictClerk
                                                          Page 16 of 43
                                                               HarrisCounty
                                                               EnvelopeNo:31532431
                                                               By:GONZALEZ,VERONICA
                                                               Filed:2/27/201912:39:11PM
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 17 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 18 of 43
    Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 19 of 43                                              3/13/2019 2:09 PM
                                                                                              Marilyn Burgess - District Clerk Harris County
                                                                                                                   Envelope No. 31911668
                                                                                                              By: VERONICA GONZALEZ
                                                                                                Clay Miller Filed: 3/13/2019 2:09 PM
                                                                                 Board Certified - Personal Injury Trial Law
                                                                                   Texas Board of Legal Specialization
                                                                                      cmiller@MillerWeisbrod.com




                                                 March 13, 2019

VIA E-File
Civil Intake
Harris County District Court
201 CAROLINE
HOUSTON, TX 77002

        Re:      Abner Pastor vs. Guardian Transition Inc.
                 Cause No. 201906499

Dear Sir/Madam:

        Please email the following two citations to msanchez@millerweisbrod.com.

        (1)      GUARDIAN TRANSITION INC. D/B/D GUARDIAN FALL
                 PROTECTION, D/B/A GF PROTECTION INC.
                 Registered Agent: National Registered Agents, Inc.,
                 155 Federal St. Ste 700,
                 Boston, MA 02110-1727

        (2)      K-STRONG
                 P. N. INTERNATIONAL
                 Registered Agent: Andy Lui
                 17330 Preston Road #200 D
                 Dallas, Texas 75252
                 OR WHEREVER HE MAY BE FOUND

        We appreciate your assistance in this matter. If you have any questions, please give me a
call.

                                                                Sincerely,

                                                                /s/ Maggie Sanchez

                                                                Maggie Sanchez
                                                                Legal Secretary to Clay Miller
#1139520




        11551 Forest Central Drive Forest Central II Suite 300 Dallas, Texas 75243 (214) 987-0005 (888) 987-0005
                                  P.O. Box 821329 Dallas, Texas 75382 Fax (214) 987-2545
                          Federal Tax ID: XX-XXXXXXX                      www.MillerWeisbrod.com
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 20 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 21 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 22 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 23 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 24 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 25 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 26 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 27 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 28 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 29 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 30 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 31 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 32 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 33 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 34 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 35 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 36 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 37 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 38 of 43
Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 39 of 43
      Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 40 of 43                 4/11/2019 3:23 PM
                                                                   Marilyn Burgess - District Clerk Harris County
                                                                                        Envelope No. 32713014
                                                                                   By: VERONICA GONZALEZ
                                                                                       Filed: 4/11/2019 3:23 PM
                            CAUSE NO.: 2019-06499

ABNER PASTOR,                                     IN THE DISTRICT COURT OF
    Plaintiff,

vs.

GUARDIAN TRANSITION INC.,                               HARRIS COUNTY
d/b/a GF PROTECTION INC.,
d/b/a GUARDIAN FALL SAFETY, K- §
STRONG, KARAM INDUSTRIES and §
P.N. INTERNATIONAL

        Defendants.                        §       151ST JUDICIAL DISTRICT

 DEFENDANT GUARDIAN TRANSITION INC., d/b/a GF PROTECTION INC.,
        d/b/a GUARDIAN FALL SAFETY'S ORIGINAL ANSWER


        COMES NOW, Defendant Guardian Transition, Inc. d/b/a GF Protection

Inc., d/b/a Guardian Fall Safety's (hereinafter referred to as "Defendant"),

Defendant in the above styled and numbered cause, and file its Original Answer

and Request for Disclosure to Plaintiff's Original Petition, and would respectfully

show the Court as follows:

                                      I.
                                GENERAL DENIAL

        Defendant generally denies the allegations contained in Plaintiff's Original

Petition, and since they are allegations of fact, Plaintiff should be required to prove

them by a preponderance of the evidence in accordance with the laws of the State

of Texas.




DEFENDANT GUARDIAN'S ORIGINAL ANSWER - Page 1
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   Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 41 of 43



                                    II.
                          REQUEST FOR DISCLOSURE

       Defendants request Plaintiff provide the information identified in TEXAS RULE

OF CIVIL PROCEDURE 194.2 within 30 days of this Request.

                                       III.
                                     PRAYER

       WHEREFORE, PREMISES CONSIDERED, Defendant Guardian Transition,

Inc. d/b/a GF Protection Inc., d/b/a Guardian Fall Safety prays that:

(1) Defendant be dismissed from this case with prejudice; (2) Defendant recover its

costs incurred hereby; and (3) Defendant recover all other and further relief, both

general and special, at law and in equity, to which it is justly entitled.




DEFENDANT GUARDIAN'S ORIGINAL ANSWER — Page 2
6452202
00097.254
    Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 42 of 43



                              Respectfully submitted,


                                    THOMPSON, COE, COUSINS & IRONS, L.L.P.

                                    By: /s/ David A. McFarland
                                        David A. McFarland
                                        State Bar No. 00791223
                                        Heather H. Sauter
                                        State Bar No. 24042118
                                        Julie Christensen
                                        State Bar No. 24105601

                                    700 North Pearl Street, 25th Floor
                                    Dallas, Texas 75201
                                    Telephone: 214.871.8292
                                    Facsimile: 214.871.8209
                                    Email:
                                          dmcfarlandthompsoncoe.com
                                          hsauter@thompsoncoe.corn
                                          jchristensenthompsoncoe.corn

                                    ATTORNEYS FOR DEFENDANT
                                    GUARDIAN TRANSITION INC., d/b/a
                                    GF PROTECTION INC., d/b/a
                                    GUARDIAN FALL SAFETY




DEFENDANT GUARDIAN'S ORIGINAL ANSWER — Page 3
6452202
00097.254
   Case 4:19-cv-02406 Document 1-6 Filed on 07/03/19 in TXSD Page 43 of 43



                                 CERTIFICATE OF SERVICE

     I hereby certify that on this 11th day of April, 2019, the above referenced
document was served by electronic service to all known counsel of record.

MILLER WEISBROD, LLP
CLAY MILLER
JOSH BIRMINGHAM
11551 Forest Central Drive
Forest Central II, Suite 300
P. 0. Box 821329 (75382)
Dallas, Texas 75243
(214) 987-0005
(214) 987-2545 (Facsimile)
cmillermillerweisbrod.corn
Jbirminghamv,millerweisbrod.corn

And

JOHN R. SALAZAR, P.C.
JOHN R. SALAZAR
2201 Main St., Ste. 900
Dallas, TX 75201
Tel. 214-696-5292
Fax. 214-698-5656
j ohnr-Cci)j ohnrsala7ar. corn

ATTORNEYS FOR PLAINTIFF




                                              /s/ David A. McFarland
                                              David A. McFarland




DEFENDANT GUARDIAN'S ORIGINAL ANSWER - Page 4
6452202
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